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                                                                                             N.D.N.Y.
                                                                                            22-cv-1134
                                                                                           Sannes, C.J.

                          United States Court of Appeals
                                               FOR THE
                                       SECOND CIRCUIT
                                       _________________

      At a stated term of the United States Court of Appeals for the Second Circuit,
held at the Thurgood Marshall United States Courthouse, 40 Foley Square, in the
City of New York, on the 21st day of December, two thousand twenty-two.

Present:
               Robert D. Sack,
               Richard C. Wesley,
               Joseph F. Bianco,
                     Circuit Judges.

Nadine Gazzola, et al.,

                               Plaintiffs-Appellants,
               v.                                                             22-3068


Kathleen Hochul, in her Official Capacity as
Governor of the State of New York, et al.,

                               Defendants-Appellees.

Appellants move for a stay pending appeal of the district court’s orders dated December 2 and
December 7 denying their motion for a temporary restraining order and preliminary injunction
(N.D.N.Y. 22-cv-1134, docs. 37 & 42). Appellants challenge various provisions of New York’s
General Business Law Article 39-BB, Executive Law, and Penal Law as they pertain to firearms
regulations. Preliminarily, the motion is DENIED because Appellants did not “move first in the
district court” for a stay or injunction pending appeal, nor have they explained why moving first
in the district court would have been impracticable. Fed. R. App. P. 8(a)(1)(C), (a)(2)(A)(i).
And in any event, even if Appellants had first moved in the district court, having weighed the
applicable factors, see In re World Trade Ctr. Disaster Site Litig., 503 F.3d 167, 170 (2d Cir. 2007);
Agudath Israel of Am. v. Cuomo, 979 F.3d 177, 180 (2d Cir. 2020), we would conclude that an
injunction pending appeal would not be warranted. Accordingly, upon due consideration, it is hereby
ORDERED that the motion for a stay pending appeal (2d Cir. 22-3068, doc. 12) is DENIED. The Clerk
of Court shall set an expedited briefing schedule for the appeal.

                                               FOR THE COURT:
                                               Catherine O’Hagan Wolfe, Clerk of Court
